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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division
__________________________________________
   RANDALL SOUSA                              )
                                              )
                       Plaintiff,             )
                                              )      Civil Action No. 1:21-cv-01304
         v.                                   )
                                              )      Hon. Michael S. Nachmanoff
   CIRCUIT COURT OF FAIRFAX COUNTY, et al.,   )
                                              )
                       Defendants.            )
                                              )
                                              )

                                               ORDER

       This matter comes before the Court on plaintiff Randall Sousa’s Ex Parte Application and

Motion for Temporary Restraining Order and Order to Show Cause (Dkt. Nos. 10, 12).

       As plaintiff recognizes, the question of whether to issue a temporary restraining order or

preliminary injunction “is committed to the sound discretion of the trial court.” Quince Orchard

Valley Citizens Ass’n, Inc. v. Model, 872 F.2d 75, 78 (4th Cir. 1989). The Court considers four factors

when weighing whether (and how) to exercise that discretion: “a plaintiff seeking a preliminary

injunction must establish [1] that he is likely to succeed on the merits, [2] that he is likely to suffer

irreparable harm in the absence of preliminary relief, [3] that the balance of equities tips in his favor,

and [4] that an injunction is in the public interest.” Winter v. Natural Resources Defense Council, 555

U.S. 7, 20 (2008).

       Plaintiff, as the moving party, must establish that each factor weighs in his favor “by a ‘clear

showing.’” Parson v. Alcorn, 157 F. Supp. 3d 479, 491 (E.D. Va. 2016) (quoting Winter, 555 U.S. at

22). A “failure to show any one of the relevant factors mandates denial of the preliminary injunction

[or temporary restraining order].” Id.
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        Here, the Court finds plaintiff has failed to make a “clear showing” that any of the relevant

factors weigh in his favor.

        First, the Court finds that plaintiff is unlikely to succeed on the merits of his underlying

claims. The Court’s decision to grant plaintiff’s in forma pauperis application in no way supports the

contention that plaintiff is likely to succeed on the merits of his claims. See Nicholson v. Clarke, Case

No. 1:13-cv-1397, 2013 WL 12099299, at *1 (E.D. Va. Nov. 20, 2013) (granting an in forma pauperis

petition does not foreclose a court from dismissing the underlying complaint under Fed. R. Civ. P.

12(b)(6)).

        Second, plaintiff has made no colorable claim that he will suffer irreparable harm in the

absence of preliminary relief. The harm plaintiff alleges depends entirely on a finding that the Fairfax

Circuit Court order, and its enforcement, deprived him of his constitutional rights under the Fifth and

Eighth Amendments. Because the Court finds plaintiff is unlikely to succeed on the merits of his

constitutional claims, the Court similarly cannot find plaintiff is likely to suffer irreparable harm

absent injunctive relief.

        Third, for the same reason, the hardship plaintiff describes depends entirely on an antecedent

finding that plaintiff’s constitutional rights have been violated by the Fairfax Circuit Court. Because

plaintiff has not made a clear showing that such claims have merit, the Court is unable to find that the

balance of equities tips in his favor.

        Fourth, plaintiff argues that the relief sought does not affect the “public interest” because

plaintiff does not seek to enjoin “the entire Circuit Court in its regular affairs.” To the extent the

public interest is to be considered, it weighs in favor of denying relief as the enforcement of sanctions

orders serves a critical function in the administration of justice.

        Moreover, the United States Court of Appeals for the Fourth Circuit has “ruled that federal

district courts should abstain from constitutional challenges to state judicial proceedings, no matter
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how meritorious, if the federal claims have been or could be presented in an ongoing state judicial

proceeding.” Harvey v. Small, Case No. 1:09-cv-3117, 2010 WL 3463877, at *2 (D.S.C. Aug. 3,

2010) (citing Cinema Blue of Charlotte, Inc. v. Gilchrist, 887 F.2d 49 (4th Cir. 1989)); see also

Bonner v. Circuit Court of St. Louis, 526 F.2d 1331, 1336 (8th Cir. 1975) (en banc 1976) (“Congress

and the federal courts have consistently recognized that federal courts should permit state courts to

try state cases, and that where constitutional issues arise, state court judges are fully competent to

handle them subject to Supreme Court review.”). The record shows that Mr. Sousa unsuccessfully

has attempted to raise his constitutional claims in Virginia’s state courts. See Dkt. Nos. 1-6 at 6–7

(documenting Mr. Sousa’s attempts at appeal); 13-2 at 1 (referencing Mr. Sousa’s prior attempts to

raise his constitutional concerns with the state courts). For this additional reason, the Court concludes

it cannot grant Mr. Sousa’s instant motions.

       Accordingly, the plaintiff’s Ex Parte Application and Motion for Temporary Restraining

Order and Order to Show Cause (Dkt. Nos. 10, 12) are DENIED.

       The Clerk is hereby directed to mail a copy of this Order to Plaintiff forthwith.

       It is SO ORDERED.



                                                              ____________/s/_____________
January 18, 2022                                              Hon. Michael S. Nachmanoff
Alexandria, Virginia                                          United States District Judge
